                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

REBECCA COURTRIGHT and                                   )
RAPHEAEL SAYE,                                           )
Individually and on Behalf of All Others,                )
                                                         )
         Plaintiffs,                                     )
                                                         )
v.                                                       )            Case No. 14-00334-CV-W-DGK
                                                         )     Consolidated with: 15-00134-CV-W-DGK
O’REILLY AUTOMOTIVE STORES,                              )
INC., et al.,                                            )
                                                         )
         Defendants.                                     )

     ORDER CONCERNING STATUS OF SETTLEMENT, DENYING REQUEST TO
                   VACATE OR STAY ANY DEADLINES

         On September 19, 2016, the parties sent the Court’s courtroom deputy an email stating

that they had reached “an agreement to resolve the case through settlement.” The parties also

requested that the Court “adjourn all pending deadlines in light of the parties’ agreement, so that

counsel can work together to bring the matter to a close.” The parties never filed a formal

motion to stay discovery, nor did they file anything indicating that they had actually reached a

firm settlement. Consequently, on October 21, 2016, the Court ordered the parties to file either

the appropriate settlement documents or a joint report explaining the status of the case by

October 28, 2016.

         On October 28, 2016, the parties filed a Notice of Settlement (Doc. 109) and a Joint

Report on Case Status (Doc. 110) in which they reported that they had reached a nationwide

settlement the day before, on October 27. The parties also requested that the Court vacate or

continue all currently scheduled deadlines 1 and give them until December 7, 2016, to file their

motion for settlement approval.


1
 The parties also reported that the status of document production in this case was the same “as it was at the time of
Defendants’ last status report,” which was July 12, 2016. See Defendants’ Ninth Progress Report on Supplemental


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         Given that this case is almost three years-old, little substantive work has occurred, and

the case has already been stayed several times, the Court DENIES the parties’ request to stay

discovery and/or vacate or continue any deadlines.

         Of course, the Court will endeavor to rule on the proposed settlement as soon as practical

once it is filed, but the parties shall continue actively litigating the case until the Court orders

otherwise.

         IT IS SO ORDERED.

Date: November 8, 2016                                     /s/ Greg Kays
                                                          GREG KAYS, CHIEF JUDGE
                                                          UNITED STATES DISTRICT COURT




Discovery (Doc. 100). Defendants also explained that they “ceased expending on continuing discovery once
agreement on settlement was reached [which appears to have been October 27, 2016], and Defendants have since
directed their efforts toward memorializing the settlement in coordination with Plaintiffs’ counsel.” Thus, it appears
Defendants have not produced any documents since mid-July, meaning there has been no progress on discovery for
three months in a case that is already thirty months-old.


                                      2
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